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A0245B        (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                                                                                                                       011
                                                          Eastern District of Arkansas                                                   K CLERK
                                                                         )
             UNITED STATES OF AMERICA                                    )
                                  v.                                     )
                          Edward Avery                                   )
                                                                         )
                                                                                 Case Number: 4: 10-cr-218-02-DPM
                        a/kla Peter Rabbit
                                                                         )        USM Number: 07089-045
                                                                         )
                                                                         )        Patrick Spivey
                                                                                  Defendant's Attorney
THE DEFENDANT:
!t'pleaded guilty to count(s)          1 of Superseding Information

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




       The defendant is sentenced as provided in pages 2 through          __7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)     -------------
                                                         D is     D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economIc circumstances.

                                                                             8/31/2011
                                                                          Date of Imposition of Judgment




                                                                             D.P. Marshall Jr.                         U.S. District Judge
                                                                          Name of Judge                               Title of Judge




                                                                          Date
                       Case 4:10-cr-00218-DPM                   Document 94           Filed 09/08/11         Page 2 of 7
AO 245B     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                       Judgment -   Page   2   of   7
DEFENDANT: Edward Avery aJk/a Peter Rabbit
CASE NUMBER: 4: 1O-cr-218-02-DPM


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
          TWENTY-ONE (21) MONTHS




     ~ The court makes the following recommendations to the Bureau of Prisons:

 The Court recommends Mr. Avery participate in residential substance abuse treatment and educational and vocational
 programs during incarceration. (continued on p. 3)


     r;t The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
          D at                                       D a.m.     D p.m.        on

          D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                           to

 a                                                    , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
                    Case 4:10-cr-00218-DPM           Document 94         Filed 09/08/11       Page 3 of 7
AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 2A - Imprisonment

                                                                                           Judgment-Page    3    of       7
DEFENDANT: Edward Avery aJkJa Peter Rabbit
CASE NUMBER: 4:10-cr-218-02-DPM

                                          ADDITIONAL IMPRISONMENT TERMS
 The Court recommends that Mr. Avery be housed at a Bureau of Prison facility that offers the Residential Drug Abuse
 program (RDAP). if possible, or an alternative drug abuse program, and that Mr. Avery participate in the program during
 the term of his incarceration.

 The Court recommends that Mr. Avery be imprisoned at a location that offers full medical facilities, given his age and his
 history of drug abuse.
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AO 245B        (Rev. 09/08) Judgment in a Criminal Case
               Sheet 3 - Supervised Release

                                                                                                                           4_ of
                                                                                                           Judgment-Page _ _                    7
DEFENDANT: Edward Avery alkJa Peter Rabbit
CASE NUMBER: 4:10-cr-218-02-DPM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a tenn of:
             ONE (1) YEAR

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any': unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as detennined by the court.
D         The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
          future substance abuse. (Check, ifapplicable.)

 ~ The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplicable.)
 ~ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
D         as direc~ed by the probation offi~er, the Bureav of Prisons, or any state sex offender registration agency in which he or she resides,
          works, IS a student, or was convIcted of a qualIfymg offense. (Check, ifapplicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the pennission of the court or probation officer;
     2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any Rersons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted pennission to do so by the probation officer;
  10)       the defendant shall Rennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
            contraband observea in plain view of the probation officer;
  11 )      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)       the d~fe.ndant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
            pennisSlOn of the court; and

  13)       as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
            record or p-ersonal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the
            defendant s compliance with such notification requirement.
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AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3A - Supervised Release

                                                                                         Judgment-Page   5     of         7
DEFENDANT: Edward Avery a/kla Peter Rabbit
CASE NUMBER: 4:10-cr-218-02-DPM

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program, which may include testing, outpatient counseling, and residential treatment. Further, the defendant
 shall abstain from the use of alcohol throughout the course of treatment.
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AO 2458    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties

                                                                                                  Judgment -    Page   6     of        7
DEFENDANT: Edward Avery aJkla Peter Rabbit
CASE NUMBER: 4:10-cr-218-02-DPM
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                     Fine                                Restitution
TOTALS             $ 100.00                                       $ 0.00                              $ 0.00


 o The detennination of restitution is deferred until   -----
                                                                     . An Amended Judgment in a Criminal Case (AO 245Cj will be entered
     after such detennination.

 o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paId.




 TOTALS                               $                    0.00         $                        0.00
                                                                            ---------

 o    Restitution amount ordered pursuant to plea agreement $

 o    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 o    The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

       o the interest requirement is waived for the 0 fine 0 restitution.
       o the interest requirement for the 0 fine 0 restitution is modified as follows:

 * Findings for the total amount oflosses are required under Chapters 109A, 110, 1lOA, and 113A of Title 18 for offenses committed on or after
 Septemoer 13, 1994, but before April 23, 1996.
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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                               Judgment - Page _--,--7_ of               7
DEFENDANT: Edward Avery aJk/a Peter Rabbit
CASE NUMBER: 4:10-cr-218-02-DPM

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     r;f Lump sum payment of $ _10_0_,0_0                  _ due immediately, balance due

           [J    not later than                     , or
           ~     in accordance ---O--C-,--O--D-,--O- E, or                      ~ F below; or

B     0    Payment to begin immediately (may be combined with                0 C,         o D, or      0 F below); or
c     0    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     0    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     ri/ Special instructions regarding the payment of criminal monetary penalties:
            No fine is imposed because the financial report reveals that the defendant is not able-and is not likely to become
            able-to pay all or part of a fine, even with the use of a reasonable installment schedule.




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monet~ penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of PrIsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 o    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 o    The defendant shall pay the cost of prosecution.

 o    The defendant shall pay the following court cost(s):

 o    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
